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                                         United States District Court
                                            District Of Maryland

     Chambers of                                                                       101 West Lombard Street
Ellen Lipton Hollander                                                                 Baltimore, Maryland 21201
  District Court Judge                                                                       410-962-0742

                                                   March 17, 2014

       MEMORANDUM TO COUNSEL

              Re:        United States v. Antoine Wiggins, et al.
                         Criminal Action No. ELH-13-0512

       Dear Counsel:

               I write in regard to the “Motion to Modify Scheduling Order” filed today by counsel for
       defendant Anthony Miles (“Motion,” ECF 201), in which defense counsel seeks to extend the
       defense motions deadline of March 28, 2014. See Motion at 4. Counsel asserts that “the
       Government has not complied” with the Court’s Order of December 23, 2013, “regarding the
       format in which discovery is to be provided.” Motion at 4; see Scheduling Order, ECF 145.
       Specifically, defense counsel claims that the Government has failed to satisfy the Court’s Order
       requiring the Government to provide defendants with, id. at 2:

              Discs of the recorded conversations [that] link the calls via an HTML file that
              contains all standard data collected by the wiretap, including but not limited to the
              call data (phone number), the date of the call, the time of the call, whether the call
              was incoming or outgoing, the duration of the call, the number of minimizations,
              time minimized, and whether the call is deemed pertinent.

               In a status report of January 17, 2014, the Government suggested that it would have
       difficulty timely satisfying this portion of the Scheduling Order. ECF 168. It explained that “to
       link the calls via an HTML file could take as much as 2-3 months, given the number of pertinent
       calls in this case.” Id. Although the Government asked the Court “to reconsider the necessity of
       formatting the audio files in this fashion,” id., it did not suggest any alternative method of
       providing the required metadata to the defendants or otherwise suggest how the Scheduling
       Order should be modified. I did not modify the Scheduling Order and heard nothing further.

               Two months have passed since the Government submitted its status report. Given that
       the Government estimated it would take 2-3 months “to link the calls via an HTML file,” and
       that two months have elapsed, the Government is directed, within five days of the docketing of
       this Memorandum, to advise the Court as to the status of its efforts to satisfy the requirements set
       forth in the Scheduling Order. The Government may also propose an alternative method of
       providing the required metadata to defendants.

              In addition, I ask counsel to confer and to advise the Court, within five days, as to any
       proposed modification of the schedule set forth in ECF 145. I am also amenable to a
       teleconference if the parties believe that one would be helpful to address the issues raised herein.
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       Despite the informal nature of this letter, it is an Order of the Court and shall be docketed
as such.

                                              Sincerely,

                                                     /s/
                                              Ellen Lipton Hollander
                                              United States District Judge
